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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
 COMMITTEE ON THE JUDICIARY,            )
 UNITED STATES HOUSE                    )
 OF REPRESENTATIVES,                    )
                                        )
          Plaintiff,                    )
                                        )
                      v.                )
                                        ) No. 1:19-cv-2379 (KBJ)
 DONALD F. MCGAHN II,                   )
                                        )
          Defendant.                    )
                                        )

               CONSENT MOTION FOR LEAVE TO EXCEED PAGE LIMIT

       Defendant, former Counsel to the President Donald F. McGahn II, respectfully moves,

pursuant to Local Rule 7(e), for leave to file a consolidated memorandum of law in support of his

forthcoming combined motion for summary judgment and in opposition to Plaintiff’s motion for

partial summary judgment of to 70 pages in length. Plaintiff consents to this request. In support

of the motion, Defendant states as follows:

       1.       On August 7, 2019, Plaintiff, Committee on the Judiciary of the United States

House of Representatives, filed this case seeking to enforce a subpoena to compel Defendant to

testify before the Committee. ECF No. 1.

       2.       On August 26, 2019, Plaintiff filed a motion for a preliminary injunction or, in the

alternative, partial summary judgment. ECF No. 22. The parties thereafter agreed to convert

Plaintiff’s motion to one for partial summary judgment, to be briefed on an expedited briefing

schedule. ECF No. 28. Pursuant to the parties’ agreed-upon schedule, which was entered by

minute order on September 3, 2019, Defendant’s combined opposition and cross-motion for

summary judgment is due on October 1, 2019, at 3 p.m.
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        3.       Defendant is working diligently to present his legal arguments to the Court as

concisely as possible. However, the page limits set forth in Local Rule 7(e) and paragraph 5(a)(iii)

of this Court’s General Order and Guidelines appear to contemplate separate memoranda of up to

45 pages each supporting and opposing a single motion, not a single brief supporting one motion

and opposing another. Furthermore, given the importance and complexity of the issues raised in

this case, which involve whether the federal courts may ever resolve inter-Branch disputes between

Congress and the Executive over access to information, threshold questions pertaining to whether

there is Article III jurisdiction, statutory subject matter jurisdiction, and a cause of action here, and

merits issues regarding whether a congressional committee can compel a former Counsel to the

President to testify on matters relating to his official duties, Defendant believes that a combined

brief of up to 70 pages (20 pages less than would be allowed in total for separate briefs) is necessary

and will enable him to best assist the Court in resolving the significant and weighty questions

presented.

        4.       Accordingly, Defendant respectfully seeks leave to file a combined motion and

opposition of up to 70 pages.

        5.       Pursuant to Local Rule 7(m), counsel for Defendant conferred with counsel for

Plaintiff, who consents to this motion.

Dated: September 27, 2019                       Respectfully submitted,


                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                JAMES M. BURNHAM
                                                Deputy Assistant Attorney General

                                                ELIZABETH J. SHAPIRO
                                                Deputy Director
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                           JAMES J. GILLIGAN
                           Special Litigation Counsel

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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
 COMMITTEE ON THE JUDICIARY,            )
 UNITED STATES HOUSE                    )
 OF REPRESENTATIVES,                    )
                                        )
          Plaintiff,                    )
                                        )
                      v.                )
                                        ) No. 1:19-cv-2379 (KBJ)
 DONALD F. MCGAHN, II                   )
                                        )
          Defendant.                    )
                                        )
                                        )

                                   [PROPOSED] ORDER

        UPON CONSIDERATION of Defendant’s Consent Motion for Leave to Exceed Page

Limit, it is hereby:

        ORDERED that the motion is granted; and it is

        FURTHER ORDERED that Defendant’s forthcoming memorandum of law in support of

his combined motion for summary judgment and opposition to Plaintiff’s motion for partial

summary judgment may be up to 70 pages in length.

        IT IS SO ORDERED.


Date: ______________                                _______________________________
                                                    HON. KETANJI BROWN JACKSON
                                                    United States District Judge
